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                                                                May 12, 2023
 Via ECF
 The Honorable Lorna G. Schofield
 United States District Judge
 Southern District of New York

        Re:     Ashley Francis v. Ludlow Street Development, LLC and New York Cremeria, Inc.

                Docket No. 1:22-cv-06578 (LGS)(RWL)

 Dear Judge Schofield:

         We represent the plaintiff in the above-entitled action. On behalf of all the parties, we
 write to respectfully ask the Court to extend the deadline for the parties to participate in the
 Court–annexed Mediation Program from June 16, 2023 to July 28, 2023. The reason for this
 request is because, despite the best efforts of the parties, the earliest date that the parties could
 schedule a mediation for is the end of July 2023. The parties have informed the SDNY
 Mediation Office and they have informed the parties to hold July 25, 2023 as a date for the
 mediation and to make an application to extend the deadline accordingly. This is the first
 application to adjourn the deadline. Thank you for your time and attention to this matter. With
 kindest regards, I am

                                                        very truly yours,

                                                             /s/
                                                        Glen H. Parker, Esq.

Application GRANTED. The parties' deadline to participate in the court-annexed mediation program is
extended from June 16, 2023 to July 28, 2023. The parties are reminded that mediation will have no
effect upon any scheduling Order issued by this Court without leave of this Court.

Dated: May 16, 2023
       New York, New York
